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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

 

STRICT COURT
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UNITED STATES DISTRICT COURT 939 yy 19. pyy 9
District of Vermont 1 2? 48

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UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL a

PEDRO OCASIO

Case Number: 5:19-cr-30-5

USM Number: 00202-509

Thomas J. Sherrer, Esq.

 

SJ aS SS SS HY HY ’”

Defendant’s Attorney

THE DEFENDANT:
M{ pleaded guilty to count(s) 11 of the Third Superseding Indictment

 

CL] pleaded nolo contendere to count(s)

 

which was accepted by the court.

CX was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18:924(c)(1)(A)(i) Possession of a Firearm in Furtherance of a Drug Trafficking 2/2019 11s
Crime
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
L] The defendant has been found not guilty on count(s)

 

VJ Count(s) 1 and 1s C is | are dismissed on the motion of the United States.

 

__, It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in economic circumstances.

6/9/2020

 

Date of Imposition of Judgment

JUDGMENT ENTERED ON DOCKET Zz
6/10/2020 Ee 2...

 

DATE: Signature of Judge

 

Geoffrey W. Crawford, U.S. District Chief Judge

 

Name and Title of Judge

6/10/2020

 

Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 7
DEFENDANT: PEDRO OCASIO

CASE NUMBER: _ 5:19-cr-30-5

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

96 months, to run concurrent to any undischarged term of imprisonment on State of Vermont charges.

¥| The court makes the following recommendations to the Bureau of Prisons:
that defendant be incarcerated at FMC Devens so he can receive a psychological evaluation. At the completion of the
evaluation, the court recommends transfer to a facility as close to North or South Carolina as possible. The court also
recommends that he be allowed to participate in the 500-hour RDAP. If this program is not available for any reason,
defendant should be allowed to participate in the non-residential treatment program offered.

W) The defendant is remanded to the custody of the United States Marshal.

[] The defendant shail surrender to the United States Marshal for this district:
LC] at [Ll am [J] pm on
[-] as notified by the United States Marshal.

 

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

1 before 2 p.m. on

 

[] as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment-—Page 3 of 7

DEFENDANT: PEDRO OCASIO
CASE NUMBER:  5:19-cr-30-5

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

four (4) years.

MANDATORY CONDITIONS

—

You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

-] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. C1] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. 1 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. LC] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. C] You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 4 of 7

 

DEFENDANT: PEDRO OCASIO
CASE NUMBER: 5:19-cr-30-5

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

Il. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines, based on your criminal record, personal history characteristics, that you pose a risk to another
person (including an organization), the probation officer, with the prior approval of the Court, may require you to notify the person
about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you have
notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

Gai

U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3B —- Supervised Release

Judgment—Page 5 of 7

DEFENDANT: PEDRO OCASIO
CASE NUMBER: 5:19-cr-30-5

ADDITIONAL SUPERVISED RELEASE TERMS

You must participate in a mental health program approved by the United States Probation Office. You shall contribute to
the cost of services rendered in an amount to be determined by the probation officer based on ability to pay or the
availability of third-party payment.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. Section
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a
United States probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any
other occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a search
pursuant to this condition only when reasonable suspicion exists that you have violated a condition of supervision and that
the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
reasonable manner.

You must participate in substance abuse treatment, which may include a substance abuse assessment with a licensed
substance abuse provider and abide by any programmatic treatment recommendations. This program may include testing
to determine whether you have reverted to the use of drugs or alcohol. You shall contribute to the cost of services rendered
based on ability to pay or the availability of third-party payment. You must refrain from the use of alcohol and other
intoxicants during and after treatment.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 6 of 7
DEFENDANT: PEDRO OCASIO

CASE NUMBER: 5:19-cr-30-5
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 100.00 $ $ $ $
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
[1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately p ro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to ist .§ 3664(1 ), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[] the interest requirement is waived forthe [] fine [] restitution.

L] the interest requirement forthe (J fine [1 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims o Trafficking ct of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23
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AO 245B (Rev. 09/19) — Judgment in a Criminal Case
Sheet 6 —- Schedule of Payments

Judgment — Page T of 7
DEFENDANT: PEDRO OCASIO
CASE NUMBER: 5:19-cr-30-5

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A WM Lumpsum paymentof$ 100.00 _—— due immediately, balance due

(] not later than , or
(1 inaccordance with [] C, [ D, 1 E,or [1] F below; or

B- ([] Payment to begin immediately (may be combined with [IC, L1D,or )F below); or
C (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (J Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(é.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [1 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Joint and Several

Case Number ; .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

[] The defendant shall pay the cost of prosecution.
C] The defendant shall pay the following court cost(s):

LC] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, 2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
